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Perros, Nicholas C. (CIV)

From:                               mukaseym@gtlaw.com
Sent:                               Friday, October 27, 2017 1:34 PM
To:                                 Perros, Nicholas C. (CIV); Perkins, Paul R. (CIV)


Paul, Nick - I’m the Global Chair of White Collar Defense and Special Investigations at Greenberg Traurig and together
with my partner, Rudy Giuliani, have been asked to help advise NHCAGroup and John Meninno with certain qui tam
actions. We understand some of these matters are approaching critical decisions and we’d like to discuss. Please call me
ASAP at               . Thx. Marc Mukasey.

Sent from my iPhone

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immediately at postmaster@gtlaw.com, and do not use or disseminate such information.




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